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                    EXHIBIT 5
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                            CONFIRMATION OF ROHIT V. WAD

         I, Rohit V. Wad, confirm that:

1.       I am the Chief Technology Officer for Binance and am employed by Ality Technologies

DE LLC and function as the Chief Technology Officer for affiliated companies including Binance

                                                                                                 7

March 2022. In that role, I am responsible for, among other things, the technology that secures

crypto assets on the Binance.com platform.


2.       I have read the confirmation of Erik Kellogg. Upon information and belief, and to the best

of my current knowledge and belief, each of the representations set forth in the confirmation of

Erik Kellogg is true and correct.


3.       Since at least June 17, 2023, BHL has not maintained possession, custody or control of

Customer Assets, as defined in paragraph I of the June 17, 2023 Consent Order entered at Docket

Number 71 except as otherwise specified in the Consent Order and subject to the provisions of the

Consent Order.


4.       Since at least June 17, 2023, BHL has not directed transfers or withdrawals of Customer

Assets, as defined in paragraph I of the June 17, 2023 Consent Order entered at Docket Number

71 except as otherwise specified in the Consent Order and subject to the provisions of the Consent

Order.


Dated: 30 June 2023                            ______________________________

                                                             Rohit V. Wad




                                                 1
